Case 1:18-cv-02844-RDB Document 309-2 Filed 06/09/20 Page 1 of 8




EXHIBIT B
          Case 1:18-cv-02844-RDB Document 309-2 Filed 06/09/20 Page 2 of 8



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 SECURITIES AND EXCHANGE                       )
 COMMISSION,                                   )
                                               )
           Plaintiff,                          )
                                               )       Case No.: 1:18-cv-02844-RDB
 v.                                            )
                                               )
 KEVIN B. MERRILL, et al.,                     )
                                               )
           Defendants.                         )


                            NOTICE OF PROPOSED AUCTION

        Please be advised that pursuant to the Order entered on ___________, __, 2020, in
Securities and Exchange Commission v. Kevin B. Merrill et al., Civil Action No. 1:18-cv-02844-
RDB, the Court-appointed Receiver Gregory S. Milligan will conduct a sealed-bid auction of
DeVille Asset Management, Ltd.’s assets. The assets to be sold include DeVille’s debt portfolios
and its ongoing business (collectively “DeVille’s assets”).

       Garnet Capital Advisors, LLC (“Garnet”) is facilitating the auction of DeVille’s assets.
Garnet will accept bids for the DeVille Portfolios and the DeVille Platform on __________, __,
2020.

        You should have already received a copy of the Receiver Gregory S. Milligan’s Motion to
Approve The Sale of and Procedures for the Sale of the Assets of DeVille Asset Management,
Ltd., an opportunity to object to the Motion, and the Court’s order granting the Motion.

        Pursuant to the Court’s___________, __, 2020 Order and after the conclusion of the sealed-
bid sale, it is anticipated that the Successful Bidder(s) will be announced within 10 business days
after the auction. The Receiver is approved to close on the sale as soon as practicable after the
Successful Bidder(s) are announced.

       If you have any questions regarding this Notice, please contact the Receiver’s counsel,
Buffey E. Klein, c/o Penny Keller, at (512) 370-3458 (phone), (512) 479-1101 (fax), or
penny.keller@huschblackwell.com.

Date: _________ ___, 2020.                   Respectfully Submitted,

                                             /s/ Buffey E. Klein
                                             Lynn H. Butler, pro hac vice
                                             HUSCH BLACKWELL LLP
                                             111 Congress Ave., Suite 1400
                                             Austin, TX 78701

                                                   1
HB: 4811-3632-7871.1
          Case 1:18-cv-02844-RDB Document 309-2 Filed 06/09/20 Page 3 of 8



                                       Tel: (512) 472-5456
                                       Fax: (512) 479-1101
                                       lynn.butler@huschblackwell.com

                                       Brian P. Waagner, Fed. Bar No. 14954
                                       HUSCH BLACKWELL LLP
                                       750 17th Street, NW, Suite 900
                                       Washington, D.C. 20006
                                       Tel: (202) 378-2300
                                       Fax: (202) 378-2318
                                       brian.waagner@huschblackwell.com

                                       Buffey E. Klein, pro hac vice
                                       HUSCH BLACKWELL LLP
                                       2001 Ross Avenue, Suite 2000
                                       Dallas, Texas 75201
                                       Tel: (214) 999-6100
                                       Fax: (214) 999-6170
                                       buffey.klein@huschblackwell.com

                                       Counsel for Receiver Gregory S. Milligan




                                         2
HB: 4811-3632-7871.1
          Case 1:18-cv-02844-RDB Document 309-2 Filed 06/09/20 Page 4 of 8



                                  CERTIFICATE OF SERVICE

        On ___ __, 2020, I electronically submitted the foregoing document with the clerk of the
court of the U.S. District Court for the District of Maryland, using the electronic case filing system
of the court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically through the Court’s CM/ECF filing system for all parties who have registered to
receive electronic service. Additionally, the foregoing document was served on the following
parties not registered for Court’s CM/ECF filing system as indicated below:

         Defendant Kevin B. Merrill (via U.S. Mail):

         Kevin B. Merrill, #64274-037
         FCI Allenwood Low
         Federal Correctional Institution
         P.O. Box 1000
         White Deer, PA 17887

         Defendant Jay B. Ledford (via U.S. Mail):

         Jay B. Ledford, #55055-048
         FCI Safford
         Federal Correctional Institution
         P.O. Box 9000
         Safford, AZ 85548

         Criminal Counsel for Defendant Kevin B. Merrill (via E-Mail and U.S. Mail):

         Elizabeth Genevieve Oyer
         Office of the Federal Public Defender
         100 S Charles St Ste 900 Tower II
         Baltimore, MD 21201
         liz_oyer@fd.org

         Maggie Grace
         Office of the Federal Public Defender
         100 S Charles St, Tower II, 9th Floor
         Baltimore, MD 21201
         maggie_grace@fd.org

         Criminal Counsel for Defendant Jay B. Ledford (via E-Mail and U.S. Mail):

         Harry J Trainor , Jr
         Trainor Billman Bennett and Milko LLP
         116 Cathedral St Ste E
         Annapolis, MD 21401
         htrain@prodigy.net


                                                  3
HB: 4811-3632-7871.1
          Case 1:18-cv-02844-RDB Document 309-2 Filed 06/09/20 Page 5 of 8



         Criminal Counsel for Defendant Cameron R. Jezierski (via E-Mail and U.S. Mail):

         Joseph J Aronica
         Duane Morris LLP
         505 9th St NW Ste 1000
         Washington, DC 20004
         jjaronica@duanemorris.com

         Criminal Counsel for Relief Defendant Amanda Merrill (via E-Mail and U.S. Mail):

         Addy R. Schmitt
         Ian Herbert
         Miller & Chevalier Chartered
         900 16th St NW
         Washington, DC 20006
         aschmitt@milchev.com
         iherbert@milchev.com

         Relief Defendant Lalaine Ledford (via U.S. Mail):

         Lalaine Ledford
         10512 Courtney Cove Ave.
         Las Vegas, NV 89144
         lalainebarretto@yahoo.com

         Baltimore County Office of Law (via E-Mail and U.S. Mail):

         Susan B. Dubin
         Baltimore County Office of Law
         400 Washington Avenue
         Towson, Maryland 21204
         sdubin@baltimorecountymd.gov

         Dundalk United Methodist Church (U.S. Mail):

         Dundalk United Methodist Church
         c/o Edward F. Mathus
         6903 Mornington Road
         Baltimore, Maryland 21222

         Lienholders, Tax Assessors, and Other Interested Parties (U.S. Mail):

         Florida Community Bank, N.A.
         2325 Vanderbilt Beach Road
         Naples, Florida 34109



                                              4
HB: 4811-3632-7871.1
          Case 1:18-cv-02844-RDB Document 309-2 Filed 06/09/20 Page 6 of 8



         Mortgage Electronic Registration Systems, Inc.
         PO Box 2026
         Flint, Michigan 48501-2026

         Collier County, Florida Tax Assessor
         3291 Tamiami Trail East
         Naples, Florida 34112

         Maryland Department of Assessments & Taxation
         301 W. Preston Street
         Baltimore, Maryland 21201-2395
         Branch Banking and Trust Company,
         A North Carolina Banking Corporation
         PO Box 1290
         Whiteville, North Carolina 28472

         Talbot County, Maryland Finance Office
         Talbot County Courthouse
         11 North Washington Street, Suite 9
         Easton, Maryland 21601

         HSBC Bank USA, National Association, as trustee of
         J.P. Morgan Alternative Loan Trust 2006-A5
         c/o Howard n. Bierman, Trustee
         c/o Select Portfolio Servicing, Inc.
         3815 Southwest Temple
         Salt Lake City, Utah 84115

         Clark County, Nevada Tax Assessor
         500 S. Grand Central Parkway
         Las Vegas, Nevada 89155

         First Financial Bank, N.A. Southlake
         3205 E. Hwy. 114
         PO Box 92840
         Southlake, Texas 76092

         Hunter Kelsey of Texas, LLC
         4131 Spicewood Springs Road, Bldg. J-1A
         Austin, Texas 78759

         Frost Bank, f/k/a The Frost National Bank
         c/o Michael J. Quilling
         Quilling, Selander Lownds, Winslett & Moser, P.C.
         2001 Bryan Street, Suite 1800
         Dallas, Texas 75201


                                                5
HB: 4811-3632-7871.1
          Case 1:18-cv-02844-RDB Document 309-2 Filed 06/09/20 Page 7 of 8



         The City of Colleyville, Texas
         c/o Victoria W. Thomas
         Nichols, Jackson, Dilard, Hager & Smith, L.L.P.
         1800 Lincoln Plaza
         500 North Akard
         Dallas, Texas 75201
         Tarrant County, Texas Tax Assessor
         100 E. Weatherford
         Fort Worth, Texas 76196

         J Trust
         c/o Hillary RE. Badrow, Trustee
         2801 Paramount Boulevard
         Amarillo, Texas 79109

         Dallas Central Appraisal District
         2949 N. Stemmons Freeway
         Dallas, Texas 75247-6195

         Bozeman West
         PO Box 1970
         15632 West Main Street
         Bozeman, Montana 59771-1970

         Neil A. Patel
         5308 Burgandy Court
         Colleyville, Texas 76034

         TIB – The Independent BankersBank
         350 Phelps Court, Suite 200
         PO Box 560528i
         Dallas, Texas 75356-0528

         Wachovia Mortgage, FSB
         PO Box 659548
         San Antonio, Texas 78265-9548

         Denton County Tax Assessor
         1505 E. McKinney Street
         Denton, Texas 76209-4525

         Potter County, Texas Tax Assessor
         900 South Polk, Suite 106
         Amarillo, Texas 79101




                                                6
HB: 4811-3632-7871.1
          Case 1:18-cv-02844-RDB Document 309-2 Filed 06/09/20 Page 8 of 8



         Wells Fargo Home Mortgage
         P.O. Box 10335
         Des Moines, IA 50306

         Albertelli Law
         Attn: Coury M. Jacocks
         2201 W. Royal Lane, Suite 155
         Irving, TX 75063

         Samuel I. White, P.C.
         5040 Corporate Woods Drive, Suite 120
         Virginia Beach, VA 23462




                                                 7
HB: 4811-3632-7871.1
